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                                                                                               FILED
                                                                                          February 12, 2021
                                                                                        CLERK, U.S. DISTRICT COURT
                                                                                        WESTERN DISTRICT OF TEXAS
                               UNITED STATES DISTRICT COURT                                                          JU
                                                                                     BY: ________________________________
                                WESTERN DISTRICT OF TEXAS                                                    DEPUTY
                                   SAN ANTONIO DIVISION


BRANDON LEE MOON                                    §
                                                    §
        Plaintiff                                   §
                                                    §
v.                                                  §    CIVIL ACTION NO. SA-06-CA-925-OG
                                                    §
JEFFREY DOVE and SAL OLIVAREZ                       §
in their individual capacities                      §
                                                    §
        Defendants                                  §

                        ORDER GRANTING SUMMARY JUDGMENT

        Pending before the Court is Defendants’ Second Motion for Summary Judgment. Docket no.

271. Plaintiff has filed a response. Docket no. 274. The remaining two defendants, Jeffrey Dove and

Sal Olivarez, seek summary judgment on the only remaining claim – a state claim for false

imprisonment.1 All other claims against all other parties have been resolved. The Court has both

diversity jurisdiction and supplemental jurisdiction over the remaining state claim. See docket no.

225. The Court has reviewed the record and the applicable law, and finds that Defendants’ motion

should be granted.

                                                    I.

                                          Applicable standard

        Summary judgment is proper when the evidence shows “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” FED. R. CIV. P. 56(a);


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        To be clear, all federal claims have been dismissed. There is no claim against these defendants
under 42 U.S.C. §1983 for a violation of constitutional rights. The sole claim for false imprisonment is
brought under state law.

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Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250-52 (1986). Rule 56 “mandates the entry of

summary judgment, after adequate time for discovery and upon motion, against a party who fails

. . . to establish the existence of an element essential to that party’s case, and on which that party will

bear the burden of proof at trial.” Curtis v. Anthony, 710 F.3d 587, 594 (5th Cir. 2013) (quoting

Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

        The Court must draw reasonable inferences and construe evidence in favor of the nonmoving

party. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986). Although

the evidence is viewed in the light most favorable to the nonmoving party, a nonmovant may not rely

on “conclusory allegations, unsubstantiated assertions, or only a scintilla of evidence” to create a

genuine issue of material fact sufficient to survive summary judgment. Freeman v. Tex. Dep’t of

Criminal Justice, 369 F.3d 854, 860 (5th Cir. 2004).

                                                    II.

                                Elements of false imprisonment claim

        Defendants assert that Plaintiff cannot meet the elements of his false imprisonment claim.

Under Texas law, the elements of a false imprisonment claim are: (1) willful detention; (2) without

consent; and (3) without authority of law. Wal-Mart Stores, Inc. v. Rodriguez, 92 S.W.3d 502, 506

(Tex. 2002); Randall’s Food Markets, Inc. v. Johnson, 891 S.W.2d 640, 644 (Tex. 1995); James v.

Brown, 637 S.W.2d 914, 918 (Tex. 1982); Najera v. United States, 926 F.3d 140, 144 (5th Cir 2019)

(applying Texas law); Davila v. United States, 713 F.3d 248, 262 (5th Cir. 2013) (applying Texas

law). There is no dispute that Plaintiff was arrested and detained without his consent. The first and

third elements – willful detention, without authority of law – are the focus of the analysis.




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        A.         Willful detention

        The allegations against Defendant Olivarez pertain to the pre-arrest time period and the

allegations against Defendant Dove pertain to the post arrest time period. Thus, the Court has

analyzed the facts from that perspective.

        1.         Pre-arrest

        Detective Joe Villa was the lead investigator in the DM rape case which led to Plaintiff’s

arrest, detention, conviction, and imprisonment. Detective Villa is deceased, and was never a party

to this lawsuit.

        Defendant Olivarez previously investigated Moon in a completely separate, earlier burglary

case. Moon was not convicted of the burglary charge and that case did not give rise to the arrest,

detention, or imprisonment made the basis of Plaintiff’s cause of action. Docket no. 274, Exh. 12,

Olivarez deposition 8/24/07 @ 57:4-9 (Q: Okay. Going back to the Marquez case, that case actually

went to trial. Is that right? A: Yes. Q: Okay. And Moon was, in fact, acquitted of that case. A: That’s

correct). Docket no. 274, Exh. 13, Moon deposition 9/2/2020 @ 44:12-14 (Q: Okay. The jury found

you not guilty of that crime, correct? A: Correct.). The only involvement Olivarez had in the DM

rape case was when Detective Villa showed Olivarez a composite of the suspect on April 29, 1987

and Olivarez told him that it reminded him of Brandon Moon. Docket no. 274, Exh. 12, Olivarez

deposition 8/24/07 @ 56:1-57:3; 62:7-15; 63:5-10); Exh. 32, p. 653 (“I then asked Det. Villa if he

had a composite of the subject and he then produced a composite. I then proceeded to view the

composite and believed I recognized the subject to be a Brandon Moon”); Docket no. 111, Exh. B,

Villa report 5/8/87 (“Detective Olivarez suggested that the composite of [DM’s] attacker bore a

resemblance to a subject named Brandon Moon”); Docket no. 111, Exh. C, Olivarez Affidavit (“On


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April 29, 1987, I was in the Burglary Office talking with Detective Joe Villa and Detective Villa

showed me a composite of the subject the complaining witness in the most recent rape case [he] had

compiled. I immediately recognized the composite as being very similar to Brandon Moon and I

advised Detective Villa that Brandon Moon had a history with this department and he could find

information concerning Mr. Moon, including book-in photographs from our records system. On May

1, 1987, Detective Villa told me that the subject in the most recent rape case had identified Brandon

Moon. That was my last involvement with Mr. Moon.”).

       The Texas Supreme Court has recognized that “false imprisonment’s first element may [ ]

be satisfied by conduct that is intended to cause one to be detained, and in fact causes the detention,

even when the actor does not participate in the detention.” Wal-Mart Stores, Inc. v. Rodriguez, 92

S.W.3d 502, 507 (Tex. 2002). This causation standard has sometimes been referred to as

“instigation” of false imprisonment. Id. However, “to prove instigation a plaintiff must show that

the defendant clearly directed or requested the arrest.” Id. Merely identifying a suspect is not enough

to hold someone liable for instigating a false imprisonment. Id. And providing inaccurate or

incomplete information is not enough to trigger liability. Id. at 510. The defendant must knowingly

provide false information for the causation requirement to be satisfied. Id. at 509-510.

       There is no evidence that Olivarez knowingly provided false information to Detective Villa.

The evidence clearly reflects that Olivarez simply shared his impression of the composite, which

reminded him of Brandon Moon. Any further investigation or follow up was in the hands of

Detective Villa, who took additional steps to identify the suspect before seeking an arrest warrant.

It was not until the rape victim, DM, had identified Brandon Moon in a photo lineup that Detective

Villa sought an arrest warrant. Docket no. 111, Exh. B, Villa report 5/8/87 @ p. 5 (“[DM] took the


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photo lineup and promptly indicated to me that she recognized photo #3 and said that that was her

attacker. Photo #3 that [DM] identified was that of Brandon Moon. . . . The following day, April

30th, I drew up an affidavit charging Brandon Moon with aggravated sexual assault.”); Docket no.

133-21, 26, positive identification and admonishment signed by DM; Docket no. 133-27, DM signed

statement 4/29/87 (“I examined the photo closely and I feel very stronly [sic] that the photo is that

of the person who raped me”); Docket no. 133-22, Dove report 5/11/87 @ p. 1 (“On 05/01-87,

subject MOON was arrested reference case 04-23040I based on a photo line-up identification by that

complainant”); Docket no. 133-26, Villa Affidavit 4/30/87 @ p. 2 (“Affiant composed a photo lineup

that included the defendant’s photo and showed it to [DM]. [DM] pointed out the subject’s photo,

saying that she recognized it as that of the subject who raped her, and did in fact believe that the

defendant is the subject who raped her.”).

       2.      The arrest

       The evidence shows that neither Olivarez nor Dove requested, directed, or participated in

Plaintiff’s arrest in the case which resulted in his imprisonment. Docket no. 274, p. 569, Dove

deposition 6/16/20 @ 25:19-26:3 (Q: Now, after Detective Villa conducted the photo lineup, he

eventually got an arrest warrant; is that correct? A: Correct. Q: And did you see the arrest warrant?

A: No, not until afterwards. Q: But he explained the basis of the warrant to you, correct? A:

Afterwards. I – I had no knowledge he was going to make an arrest on this at that time); 26:22-23

(A: No. The day that he executed the arrest warrant, I had taken a day off. I was not at work); Docket

no. 274, p. 283, deposition of Brandon Moon 9/2/20 @ 66:24-67:6 (Q: How did you find out that

you were under investigation for the sexual assault of [DM]? A: Sometime around 3 o’clock in the

morning, I received a knock on my door in the dorms and I was placed under arrest. Q: Do you know


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the names of the arresting officer? A: I do not.); Docket no. 274, p. 363, deposition of Sal Olivarez,

6/16/20 @ 5:1-2 (A: Well, I wasn’t involved in that investigation, period.); Docket no. 274, Exh. 25,

p. 535, Affidavit of J. Dove 8/15/07 (“Detective Villa told me that based upon his investigation to

date he was going to prepare an Arrest Complaint Affidavit to see if a Judge would sign it and issue

an arrest warrant for Brandon Moon.”); Docket no. 274, Det. Joe Villa report 5/8/87, p. 498 (“The

following day, April 30th, I drew up an affidavit charging Brandon Moon with aggravated sexual

assault. I presented the affidavit to municipal court judge, Ricardo Herrera, and he issued warrant

#M87-05895.); p. 500 (“At 0145 Hrs., May 1st, the police dispatcher called me at home and

informed that Moon had just showed up at his dormitory. I went to my office and prepared a search

warrant to search Moon’s room. I attempted to contact several District and County Court judges to

get the search warrant signed, but I met with negative results. I decided to proceed to UTEP and

arrest subject Moon and to secure the search warrant later. At the UTEP Police Office, I met with

Sgt. Aguirre and Officer Carol Davis. I turned the warrant over to them and accompanied the [sic]

to Moon’s dormitory, Barry Hall, R. 905B. At 4:10 am, we entered Moons room and placed him

under arrest. We found Moon in the room by himself and Officer Davis advised him of his

constitutional rights. . . . El Paso Police Unit 234, officers Candice Cusac and George Garza arrived

and assisted me in transporting Moon to Central Police Headquarters. Upon arriving at Central judge

Andrew Baka warned Moon of his Miranda rights.”); Docket no. 139, Exh. T, Certificate of

Magistrate, dated 5/1/87, signed by Andrew Baka; Docket no. 274, p. 595, Dove deposition 6/16/20

@ 51:7-10 (Q: And it’s my understanding that Detective Villa arrested Brandon Moon with two

other officers who worked at the university. Do you recall that? A: I’ve read it.); Docket no. 111, p.

38, Exh. D, Dove Affidavit (“On Friday, May 1, 1987, I was advised by Detective Joe Villa that


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Brandon Lee Moon had been arrested and taken into custody”). Defendants cannot be held liable for

an arrest in which they had no personal involvement.

        3.      Post arrest detention

        Detective Villa was the lead investigator in the DM rape case; however, Defendant Dove

became aware of the DM case because he was the lead investigator in another sexual assault (the KN

case) that occurred earlier but under similar circumstances. There was also a third case, the MD rape

case, that appeared to have similarities. Each case had a different lead investigator, but the

similarities between the cases led the investigators to believe the cases were related. Docket no. 274,

p. 411, Dove deposition 9/7/07 @ 27:24-28:20 (Q: And, in fact, at one point in time, I believe in one

of your affidavits, you said, as a result of similarities in the composites, this is one of the reasons that

Brandon Moon was arrested. Isn’t that right? A: That’s one of the reasons, yes, sir. Q: Okay. And

the other reason that you set down, either in your report or in your affidavit, is because of the modus

operandi of various incidents that occurred from 1985 to 1987; is that right? A: That is correct. Q:

Okay. And the modus operandi being the ski mask, terroristic threats, use of a gun, basically, and

– and other things? A: And other things, yes. Q: And that would indicate to you, as a law

enforcement officer, that the person that did one did all of those; is that right? A: Yes. Q: Okay. And

you’re still of that belief here today? A: Yes, I am.); Docket no. 274 pp. 588-591, Dove deposition

6/16/20 @ 44:24-45:10; 46:22-47:6 (the incidents occurred in the same geographic area).

        The police department arranged a physical lineup on the day after Moon’s arrest and called

all three victims (DM, KN, and MD) to come down to the office to view the lineup. Defendant Dove

was one of the investigators involved in coordinating the physical lineup. Dove picked up Moon

from the jail and transported him to the office. Docket no. 274, p. 417, Dove deposition 7/7/07 @


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52:17-25. They searched for other participants to stand in the physical lineup, but they did not have

enough Caucasian detainees with similar characteristics so he selected four officers to participate in

the lineup. Docket no. 274, p. 418, Dove deposition 7/7/07 @ 53:1-19; 112:20-113:10 (Q: On

Saturday, May the 2nd, 1987, did you have any difficulty finding white Anglo males in the El Paso

County jail? A: Yes, sir, I did. Q: Were you able to find any that were the same size, build,

complexion, hairstyle as Brandon Lee Moon? A: No sir. Q: And why did you use four El Paso Police

Department officers? A: So I could put together a physical lineup. I used them because I – I couldn’t

find anybody else to stand in. Q: And did you select those people based on your belief that they had

– that they were the same height, weight, same general physical characteristics? A: Yes.); Docket

274, Exh. 31, Dove report 5/2/87 (“All are white males, of the same approximate age, all have short

brown hair, and all are clean shaven. The [ ] line-up participats were instructed to change into jail

blues, identical to the clothing subject Moon was now wearing”); Docket no. 274, p. 502, Villa

report 5/8/87 (“On Saturday at 0800 Hrs., Det. Dove and I met at the CAP offices and started

working to put the lineup together. We decided to conduct the lineup at the CAP office and at 0950

Hrs. Det Dove picked up Brandon Moon at the County Jail and escorted him to the CAP office. We

got Mike Gill, Wesley Rappe, Greg Brickey, and Tracy Pace to stand in the lineup with Moon. These

persons were picked to stand in the lineup because of their similar general characteristics. Each one

was given the same type blue, jail orderly uniforms. We instructed the participants to remove their

shoes and stand in the lineup barefooted. We also advised them of the procedure that we would

use.”). Plaintiff now alleges that the manner in which participants were selected violated EPPD

policy, which stated that the “Arrangement of Lineup” is “Five or six inmates of the County Jail, to

include the subject.” Docket no. 274, Exh. 24. However, the policy also stated “Inmates should be


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the same approximate size, nationality, and general appearance of the subject.” Id. There is simply

no evidence that this procedure resulted in a suggestive lineup. Instead, the evidence supports just

the opposite. Plaintiff admitted there was nothing suggestive about the lineup. Docket no. 274, p.

296, Moon deposition 9/2/20 @ 80:18-81:9 (Q: At that time, were you clean-cut? And by that, I just

mean shaven. A: Yes. Yes. Q: And your haircut, was – was it long hair or short? A: It was military

short. Q: Okay, and when you say these officers were clean-cut, they also had short hair and shaven?

A: Yeah, as I remember. Q: Okay. Let me just stick to the physical appearance. Was there anything

just about their physical appearance that was significantly different than your physical appearance?

A: not that I can recall, no. Q: Do you remember if they were all generally the same height as you?

A: Fairly so. I believe so.); 82:12-16 (Q: Okay. Did you say anything to the officer there in charge

about that? A: Yes, I did, actually. After – after the lineup, I said something to the effect, Well, at

least they all kind of looked like me.); 83:1-6 (Q: If we looked at the picture of the five of you, what

I understand you to be telling us is there’s no obvious physical characteristics that would identify any

of the five as police officers; is that true? A: I couldn’t say that, no. I – I could not pinpoint any

identifying characteristics of such); 83:18-20 (There was nothing physical that said that these people

were police officers, as far as I’m – as far as I can recall); 83:21-84:9 (Q: Okay. Let me ask you this:

Was there anything that you recall about the way they stood, faced forward, turned to the side or put

their hat on that you believe would identify to someone that those were police officers? A: Not

specifically. I can’t say anything. Q: I mean, do you remember them doing any of those things

differently than the way you did? A: No, I can’t say that they did. Q: Do you remember any – any

behavior on their part during the lineup that you thought was an effort to signal to whoever was

watching that they were – any of them was an officer? A: I don’t recall anything like that.); 85:14-19


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(Q: However the instruction were communicated, whether by an officer – A: Uh-huh. Q: – or a

speaker, was there anything about that that you thought suggested that you were the suspect? A:

No.); 86:10-19 (Q: Whoever the officer was that escorted you into the lineup and back to your cell,

do you remember any specific discussion with that officer? A: No – well, just the one that I

mentioned, that I said, At least they looked like me this time. Q: Right. Is there – did that officer

behave in any way improperly or unprofessionally during the lineup process? A: Not that I’m aware

of. Not that [was] brought [to] my attention.); 92:21-93:2 (Q: And again, just to make sure that we’re

clear, assuming it was Detective Dove that was involved in the lineup procedure, do you remember

any discussion with him on the trip to the hospital or during the lineup procedure that struck you as

dishonest, biased, unprofessional, or otherwise, you know, somehow sinister? A: No.).

       Plaintiff also complains that the victims were allowed in the same hallway prior to being led

separately into the observation room. Without evidence, Plaintiff alleges that this also caused an

improper identification process. Importantly, Detective Villa and Lieutenant Saucedo2 – not

Defendant Dove – were responsible for handling the witnesses. Defendant Dove was in a separate

room, on the opposite side of the one-way glass, handling the participants in the lineup. He was

neither involved in nor had any knowledge of the manner in which the witnesses were being handled

in the hallway or the observation room. Docket no. 274, Exh. 25, Dove Affidavit p. 5 (“My part in

the lineup procedure was that I was in the room with the lineup participants, standing by the door

so I could give instructions to the individuals in the lineup”); Docket no. 274, p. 418, Dove

deposition 9/7/07 @ 56:6-12 (Q: Where were all the victims/witnesses placed before the lineup? A:


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        Lieutenant Saucedo has never been a party to this lawsuit. Defendant Olivarez was not
involved in the lineup process. Docket no. 274, Exh. 12, Olivarez deposition 8/24/07 @ 69:6-9.


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I don’t know. Q: Okay. Did anybody ever tell you that they were all in the same room. A: I later

found out that they were in the hallway.); 64:20-25 (Q: Okay. After the three individuals that we

talked about earlier, that being [MD, KN, and DM], after they left the room, did they then – did you

see where they went after they left the lineup room? A: No, sir.); 106:14-20 (A: At the time, I was

in another room, so I couldn’t see who actually was outside the interview room. Q: Where exactly

were you at during the – the live lineup? A: I was inside the video room with the lineup

participants.).

        Detective Villa stated, in his report, that when the witnesses arrived, he instructed each of

them not to discuss anything pertaining the matter with each other. The witnesses sat on a bench in

the hallway, and he stayed with them until he was told that everything was ready. He then escorted

each witness separately and individually into the viewing room while Lieutenant Saucedo stood by

the doorway. Docket no. 274, pp. 502-506, Villa report 5/8/87. Lt. Saucedo also signed a statement

on May 8, 1987, and verified that each of the victims separately viewed and identified Moon, and

his description of the process was consistent with that of Detective Villa. Docket no. 133-23. In his

affidavit, Lt. Saucedo further explained: “I clearly knew and understood that on May 2, 1987, when

numerous witnesses were to view a physical line-up, the witnesses were to be segregated and to have

no contact with each other prior to or after viewing any live line-up. That was the policy, custom,

procedure and practice of the Crimes Against Persons Bureau at the time of these line-ups referred

to this in affidavit. When the three complaining witnesses were brought to the Crimes Against

Persons division offices, they were mistakenly placed together in the hallway outside the viewing

room. However, these three women [KN, MD, and DM] did not talk to each other and more

importantly, each made an individual and separate viewing of the physical line-up. These women


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had no contact with each other after each made an individual and separate identification of Brandon

Moon.” Docket no. 111, Exh. E. The record is devoid of any evidence to support Plaintiff’s

allegation that the physical lineup was suggestive or tainted, and that any impropriety in the lineup

process caused his detention.

        B.     Without authority of law

        Defendants further assert that there is no evidence that Plaintiff was arrested and detained

without authority of law. Thus, Plaintiff cannot prove the third element of his claim. If the arrest and

detention in question were performed with the authority of law, no false imprisonment occurred.

Wal-Mart Stores, Inc. v. Resendez, 962 S.W.2d 539, 540 (Tex. 1998) (citing Sears, Roebuck & Co.

v. Castillo, 693 S.W.2d 374, 375 (Tex. 1985)). In other words, “[i]f an arrest or detention is executed

under process which is legally sufficient in form and duly issued by a court of competent

jurisdiction—where an arrest is made pursuant to a valid arrest warrant, for example—there is no

cause of action for false imprisonment.” Martinez v. English, 267 S.W.3d 521, 529 (Tex. App. –

Austin 2008, pet. denied) (citing James, 637 S.W.2d at 918). A facially valid warrant precludes a

claim of false imprisonment “even if the events that led to its issuance were ‘irregular, or void, or

that the court did not have jurisdiction of the person of the defendant.’” Najera, 926 F.3d at 144-45

(quoting Pate v. Stevens, 257 S.W.2d 763, 767 (Tex. Civ. App. – Texarkana 1953, writ dism’d)).

        The undisputed evidence in the record shows that Plaintiff was arrested pursuant to a valid

legal process by a court of competent jurisdiction. As Detective Villa explained in his report, “I

drew up an affidavit charging Brandon Moon with aggravated sexual assault. I presented the affidavit

to municipal court judge, Ricardo Herrera, and he issued warrant #M87-05895 . . . At the UTEP

Police Office I met with Sgt. Aguirre and Officer Carol Davis. I turned the warrant over to them and


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accompanied [them] to Moon’s dormitory, Barry Hall, R., 905B. At 4:10 am, we entered Moons

room and placed him under arrest. We found Moon in the room by himself and Officer Davis

advised him of his constitutional rights.” Docket no. 274, pp. 498, 500 (Villa report 5/8/87). Plaintiff

asserts that Defendants haven’t included the actual warrant in the record; thus, they haven’t shown

the warrant was valid. However, this is a civil case and it is not Defendants’ burden to prove

authority existed. Instead, it is Plaintiff’s burden to prove the absence of authority in order to

establish the third element of his false imprisonment cause of action. Sears, Roebuck & Co. Castillo,

693 S.W.2d 374, 376 (Tex. 1985) (“The plaintiff must prove the absence of authority in order to

establish the third element of a false imprisonment cause of action”). The evidence in the record

leads to only one conclusion – that Defendants were acting with the authority of law. “[A]n officer

acting with the authority of law does not commit false imprisonment.” Davila, 713 F.3d at 262.

Plaintiff has not met his burden to show an absence of authority to establish the third element of a

false imprisonment claim.

        C.      Broken causal link

        Defendants also assert that they cannot, as a matter of law, be held individually liable for

Plaintiff’s 17 year imprisonment because there is an absence of causation or, in the alternative, the

chain of causation was broken. As explained supra, there is no “instigation causation” because there

is no evidence that Olivarez knowingly provided false information when he commented on the

composite sketch. Nor is there any evidence that Dove put together a suggestive lineup and that his

conduct caused Moon’s detention. However, even if evidence of causation existed, there are several

intervening causes that broke the causal link. Mayfield v. Currie, 976 F.3d 482, 486 (5th Cir. 2020)

(“It is well settled that if facts supporting an arrest are placed before an independent intermediary


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such as a magistrate or grand jury, the intermediary’s decision breaks the change of causation for

false arrest, insulating the initiating party.” (quoting Deville v. Marcantel, 567 F.3d 156, 170 (5th

Cir. 2009)). The evidence in this case clearly reflects that facts supporting an arrest were placed

before independent intermediaries – a magistrate, a grand jury, and a petit jury, which breaks the

chain of causation in this case. Docket no. 274, p. 498, Villa report (“I presented the affidavit to

municipal court judge, Ricardo Harrera, and he issued warrant #M87-05895.”); Docket no. 274, Exh.

25, Dove Affidavit, p. 8 (nine indictments were returned against Brandon Lee Moon); Docket no.

139, Exh. V, Grand jury indictment against Brandon Moon in the DM case; see also Docket no. 274,

Exh. X, Trial transcript @ Vol II, 119:7-13 (in court identification of Moon by DM during trial on

the merits).                                      III.

                                          Official immunity

        Under these facts, and because Defendants Dove and Olivarez are being sued in their

individual capacity, they are also entitled to official immunity. Under state law, government

employees are entitled to official immunity from suit arising from performance of their discretionary

duties, in good faith, as long as they are acting within the scope of their authority. City of Lancaster

v. Chambers, 883 S.W.2d 650, 653 (Tex. 1994); Ballantyne v. Champion Builders, Inc., 144 S.W.3d

417, 424 (Tex. 2004); Murray v. Earle, 405 F.3d 278, 294 (5th Cir. 2005 (applying Texas law). This

doctrine provides true immunity from suit, and not a simple defense to liability. Murray, 405 F.3d

at 294. First, both Olivarez and Dove were performing discretionary functions at the time of their

limited involvement in the DM rape case. “A discretionary function – as distinguished from a

ministerial duty, which requires rote obedience to orders or performance of a function to which the

actor has no choice – involves personal deliberation, decision and judgment.” Id. Olivarez was using


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